Case 4:12-cr-00001-JPJ      Document 316 Filed 07/18/14           Page 1 of 1
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                      IN THE UNITED STATES DISTRICT COURT
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                                 DA NV ILLE DIV ISIO N

UN ITED STA TES O F A M ER ICA                   Crim inalAction No.4:12-cr-00001-4

V.                                               FIM L ORDER

QUENTIN DW AYNE M CNEBB,                         By:    H on.Jaclkson L .K iser
       Petitioner.                                      Senior U nited States DistrictJudge

       ln accordance with thewritten M emorandum Opinion entered thisday,itishereby

                               ADJUDGED and ORDERED

thattheUnited States'm otion to dism issisGRANTED;them otion tovacate,setaside,or

correctsentence,pursuantto28U.S.C.j2255,isDISM ISSED;acertiticateofappealabilityis
DE NIED ;and the action is STR ICK EN from the active docketofthe court.

       The Clerk isdirectedto send copiesofthisOrderandtheaccompanying M em orandum

Opinion to Petitioner and counselofrecord forthe United States.

       ENTER:This l .
                    w- dayofJuly,2014.
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                                                        Se ior nited StatesDistrictJudge
